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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: August 7, 2019



________________________________________________________________

                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON


In re: Tagnetics Inc.,
                                                 Case No.    19‐30822

                                                 Judge Humphrey
                                                 Chapter 7



      Order Requiring Agreed Order or Status Report(s) and Ordering Other Matters


       The court held a status conference on August 7, 2019, participated in by Petitioning
Creditors Kenneth W. Kayser, Ronald E. Early, and Jonathan Hager, appearing pro se, and
Robert R. Kracht and Stephen B. Stern, counsel for Tagnetics Inc.

       In accordance with the court’s colloquy with the parties during the status
conference, IT IS ORDERED that counsel for Tagnetics, Inc. shall, not later than August 14,
2019, provide to the Petitioning Creditors a draft settlement agreement. The draft
settlement agreement shall not be filed with the court. IT IS FURTHER ORDERED that the
parties shall, not later than August 21, 2019, present to the court an agreed entry indicating
the complete resolution of all issues and concluding this case. However, to the extent
parties are unable to submit such an agreed order by August 21, 2019, IT IS FURTHER
ORDERED that the parties shall file, not later than August 21, 2019, a joint status report or
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individual status reports setting forth the status of issues pertaining to the conclusion of this
case.

      Upon review of the filings pursuant to this order, in the absence of an agreed order
or other dispositive filing concluding this case, the court will schedule a further status
conference or issue further orders as appropriate.

       IT IS SO ORDERED.

Copies to:

All Creditors and Parties in Interest

Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130




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